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                           IN THE UNITED STATES DISTRICT Co~am~,-~/V.~.....-"--I
                          FOR THE NORTHERN DISTRICT OF GEORGIA    ~a.
                                     ATLANTA DIVISION

           RIGOBERTO GARCIA JAIMES,                      MOTION TO VACATE
               Movant,                                   28 U.S.C. § 2255

                 v.                                      CRIMINAL INDICTMENT NO.
                                                         1:03-CR-0493-0DE-AJB-15
           UNITED STATES OF AMERICA,
               Respondent.                               CIVIL FILE NO.
                                                         1: 13-CV-0981-0DE-AJB

                            ORDER ADOPTING MAGISTRATE JUDGE'S
                            FINAL REPORT AND RECOMMENDATION

                 The matter is before the Court on Movant's 28 U.S.C. § 2255 motion

           challenging his convictions under the above criminal docket number, (Doc. 2478); the

           Magistrate Judge's Final Report and Recommendation, which recommends that the

           motion be dismissed as successive, (Doc. 2479); Movant's motion for an extension

           of time in which to file objections, (Doc. 2481); and Movant's objections, (Doc.

           2482).

                    In reviewing a Magistrate Judge's Report and Recommendation, the district

           court "shall make a de novo determination ofthose portions ofthe report or specified

           proposed findings or recommendations to which objection is made." 28 U.S.C.

           § 636(b)(1). Absent objection, the district judge "may accept, reject, or modify, in

           whole or in part, the findings and recommendations made by the magistrate judge,"

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           28 U.S.C. § 636(b )(1), and "need only satisfy itself that there is no clear error on the

           face of the record in order to accept the recommendation," Fed. R. Civ. P. 72, advisory

           committee note, 1983 Addition, Subdivision (b). See Thomas v. Am, 474 U.S. 140,

           149 (1985) ("[Section 636(b)(1 )(C)] does not on its face require any review at all, by

           either the district court or the court of appeals, of any issue that is not the subject of

           an objection.").

           I.       Discussion

                    The Magistrate Judge has recommended that Movant's § 2255 motion be

           dismissed as successive under § 2255(h) and that a certificate of appealability be

           denied. (Doc. 2479.) Movant objects that the Magistrate Judge did not consider

           § 2255(f) or recommend forwarding his motion to the Eleventh Circuit Court of

           Appeals. (Doc. 2482 at 1-2.) Movant asserts that his claims are based on Missouri

           v. Frye, _U.S. _, _, 132 S. Ct. 1399 (2012), and Lafler v. Cooper, _U.S. _,132

           S. Ct. 1376 (2012), decided in March 2012, and that to avoid timeliness concerns his

           motion should be transferred to the Eleventh Circuit Court of Appeals as an

           application to file a successive petition. (Doc. 2482 at 2.)

                    Consideration of § 2255(f) by the Magistrate Judge was unnecessary because

           § 2255(f) governs the timeliness of a § 2255 motion and does not obviate the

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           requirement that Movant must get permission from the Eleventh Circuit Court of

           Appeals to file a successive petition. Further, transfer to the Eleventh Circuit Court

           of Appeals is unwarranted because that court already has determined that Em and

           Lafner do not present new rules of constitutional law that warrant permission to file

           a successive petition. In re Perez, 682 F.3d 930,932-33 (11 th Cir. 2012) (discussing

           application of28 U.S.C. § 2255(h)(2)). Movant's objections are due to be overruled.

           II.   Conclusion

                 For good cause shown, Movant's motion for an extension of time in which to

           file objections, (Doc. 2481), is GRANTED.

                 IT IS ORDERED that Movant's objections, (Doc. 2482), are OVERRULED

           and that the Magistrate Judge's Final Report and Recommendation, (Doc. No. 2479),

           is ADOPTED as the Order of the Court.

                 IT IS ORDERED that Movant's § 2255 motion, (Doc. 2478), is DISMISSED

           as successive and that a certificate of appealability is DENIED.

                 IT IS SO ORDERED this _::5 I day of May, 2013.



                                                  ORINDA D. EVANS
                                                  UNITED STATES DISTRICT JUDGE


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